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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

HERMAN BENSON, JR., Individually                     §
and On Behalf of All Others Similarly                §
Situated,                                            §
                                                     §
                Plaintiffs,                          §
         v.                                          §           C.A. No. 3:08-CV-01735-G
                                                     §
CSA – CREDIT SOLUTIONS OF                            §
AMERICA, INC.,                                       §
                                                     §
                Defendant.                           §

DEFENDANT’S MOTION TO VACATE ARBITRATOR’S CLAUSE CONSTRUCTION
    AWARD OR STAY THE PROCEEDINGS PURSUANT TO 9 U.S.C. §§ 10, 12

         Defendant CSA - Credit Solutions of America, LLC1 (“CSA” or “Defendant”)

respectfully submits this Motion To Vacate Arbitrator’s Clause Construction Award Or Stay

Proceedings Pursuant to 9 U.S.C. §§ 10, 12. For the reasons provided in the contemporaneously-

filed Memorandum of Law In Support Of Defendant’s Motion To Vacate Arbitrator’s Clause

Construction Award Or Stay Proceedings Pursuant to 9 U.S.C. §§ 10, 12, CSA respectfully

requests that this Court grant its Motion To Vacate Arbitrator’s Clause Construction Award.

Should this Court deny CSA’s request to vacate, CSA requests that this Court stay the

proceedings, while CSA appeals the denial to the Fifth Circuit Court of Appeals.




1
    The name of the corporate defendant in the caption is no longer correct.



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                                         Respectfully submitted,


                                         SEYFARTH SHAW LLP

                                         By: s/ John L. Collins
                                             John L. Collins
                                             SEYFARTH SHAW LLP
                                             State Bar No. 00796025
                                             700 Louisiana Street, Suite 3700
                                             Houston, Texas 77002
                                             (713) 225-2300 – Telephone
                                             (713) 225-2340 – Facsimile
                                             jcollins@seyfarth.com




OF COUNSEL:
SEYFARTH SHAW LLP
Robert J. Carty, Jr.
State Bar No. 00788794
Kate L. Birenbaum
State Bar No. 00787087
Clayton D. Craighead
State Bar No. 24065092
700 Louisiana Street, Suite 3700
Houston, Texas 77002
(713) 225-2300 – Telephone
(713) 225-2340 – Facsimile
rcarty@seyfarth.com
kbirenbaum@seyfarth.com
ccraighead@seyfarth.com

John Greco
State Bar No. 24050686
Assistant General Counsel
CSA - Credit Solutions of America, LLC
12700 Park Central Dr., 21st Floor
Dallas, Texas 75251
(972) 763 - 7135 - Telephone
(214) 678-7151 - Facsimile
jgreco@creditsolutions.com



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                              CERTIFICATE OF CONFERENCE

        I hereby certify that prior to filing this motion I conferred with Plaintiff’s counsel, who
stated that he was opposed to the granting of this Motion.


                                             s/ Kate L. Birenbaum
                                             Kate L. Birenbaum




                                 CERTIFICATE OF SERVICE

       I hereby certify that, on August 5, 2010, true and correct copies of the foregoing pleading
were served on all counsel of record, as listed below, via ECF filing.

         J. Derek Braziel, Esq.
         Meredith Mathews, Esq.
         Lee & Braziel, L.L.P.
         1801 N. Lamar Street, Suite 325
         Dallas, Texas 75202

         Robert J. Camp
         The Cochran Law Firm, PC
         505 20th Street North, Suite 825
         Birmingham, Alabama 35203




                                             s/ John L. Collins
                                             John L. Collins




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